PSD ne
NORTE RS

IN THE UNITED STATES DISTRICT COUR Bp ou |

;
t

FOR THE NORTHERN DISTRICT OF TEXA an

  

AMARILLODIVISION [| [IT
CLERK ES DISTRI COURP

UNITED STATES OF AMERICA §
Plaintiff, §
§

y. § 2:21-CR-64-Z-BR-(1)
§
RICHARD SANCHEZ §
§
Defendant. §

ORDER ADOPTING REPORT AND RECOMMENDATION
CONCERNING PLEA OF GUILTY

On September 27, 2021, the United States Magistrate Judge issued a Report and
Recommendation Concerning Plea of Guilty (“Report and Recommendation”) in the above
referenced cause. Defendant Richard Sanchez filed no objections to the Report and
Recommendation within the fourteen-day period set forth in 28 U.S.C. § 636(b)(1). The Court
independently examined all relevant matters of record in the above referenced cause—including
the elements of the offense, Factual Resume, Plea Agreement, and Plea Agreement Supplement—
and thereby determined that the Report and Recommendation is correct. Therefore, the Report and
Recommendation is hereby ADOPTED by the United States District Court. Accordingly, the Court
hereby FINDS that the guilty plea of Defendant Richard Sanchez was knowingly and voluntarily
entered; ACCEPTS the guilty plea of Defendant Richard Sanchez; and ADJUDGES Defendant
Richard Sanchez guilty of Count One in violation of 18 U.S.C. § 2250(a). Sentence will be

imposed in accordance with the Court’s sentencing scheduling order.

SO ORDERED, October /8, 2021.

 

MATHEW J. KACSMARYK

ITED STATES DISTRICT JUDGE

 
